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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

v. Criminal No. 19-MJ~6087~MPK

GREGORY ABBOTT, et al., ,

`_/\_/V\./\./\_/\_/V

Defendants
GOVERNMENT'S MOTION TO SEAL
COMPLAINT

The United States Attorney hereby respectfully moves the Court to seal the complaint,
supporting affidavit, this motion and the Court’s order on this motion, and any other paperwork
related to this matter, until further order of this Court. As grounds for this motion, the
government states that public disclosure of these materials might jeopardize the ongoing
investigation of this case, as well as the government’s ability to arrest the defendant

The United States Attorney further moves pursuant to General Order 06-05 that the
United States Attorney be provided copies of all sealed documents that the United States
Attorney has filed in the above-styled matter.
Respectfully submitted,
ANDREW E. LELLING

U'E:di:e:tfmey
By:

ERIC S. ROSEN
Assistant U.S. Attorney

Date: March ll, 2019

 

